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 5
     Attorney for Defendant, CHARLIE STEVENSON
 6

 7                               UNITED STATES DISTRICT COURT
 8
                               EASTERN DISTRICT OF CALIFORNIA
 9
                                                     )
10   UNITED STATES OF AMERICA,                       ) Case No.: 1:16-CR-00176/ 1:16-CR-00187
                                                     )
11                      Plaintiff,                   ) STIPULATION TO CONTINUE
            vs.                                      ) SENTENCING HEARING; ORDER
12                                                   )
                                                     )
13   CHARLIE STEVENSON                               ) Sentencing Date: March 9, 2020
                                                     ) Time: 10:00 a.m.
14
                       Defendant.                    ) Judge: Dale A. Drozd
                                                     )
15

16          IT IS HEREBY STIPULATED by and between the parties hereto, and through their
17   respective attorneys of record, that the sentencing hearing in the above captioned matter now set
18   for March 9, 2020 at 10:00 am, may be continued to May 11, 2020, at 10:00 am.

19          The continuance is requested by counsel for Defendant, CHARLIE STEVENSON as

20
     Attorney Daniel L. Harralson by this Stipulation is asking authority from the Court to perform
     work necessary to present all relevant sentencing issues to the Court.
21

22
     DATED: March 4, 2020                  Respectfully Submitted,
23                                         DANIEL L. HARRALSON ATTORNEY AT LAW
24
                                               /s/ Daniel Harralson
25
                                           DANIEL L. HARRALSON
                                           Attorney for Defendant
                                                    -1-
          Case 1:16-cr-00187-DAD-BAM Document 160 Filed 03/05/20 Page 2 of 2



 1
     DATED: March 4, 2020                  UNITED STATES ATTORNEYS OFFICE
 2

 3
                                               /s/ Kimberly A. Sanchez
 4                                         KIMBERLY A. SANCHEZ
                                           Assistant United States Attorney
 5

 6                                               ORDER

 7          For the reasons set forth in the parties’ stipulation, the above sentencing is continued to

 8   May 11, 2020 at 10:00 a.m. in Courtroom No. 5.

 9   IT IS SO ORDERED.
10
        Dated:    March 4, 2020
11                                                         UNITED STATES DISTRICT JUDGE

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